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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF RHODE ISLAND



  STATE OF Delaware,

              Plaintiffs,

        v.

  U.S. DEPARTMENT OF HEALTH AND HUMAN
  SERVICES, et al.,

              Defendants.




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                     DECLARATION OF JOSETTE D. MANNING, ESQ.
                I, Josette D. Manning, Esq., declare as follows:

        1.      I am a resident of the State of Delaware. I am over the age of 18 and have

 personal knowledge of all the facts stated herein, except to those matters stated upon information

 and belief; as to those matters, I believe them to be true. If called as a witness, I could and would

 testify competently to the matters set forth below.

        2.      I am currently employed by the Delaware Department of Health and Social

 Services (DHSS) as Cabinet Secretary and have held this position since July of 2023.

        3.      As DHSS’ Cabinet Secretary, I am responsible for the administration of all duties

 of my department including overseeing the implementation of the Governor’s policies and

 priorities. DHSS improves the quality of life for Delaware's citizens by promoting health and

 well-being, fostering self-sufficiency, and protecting vulnerable populations. Each of the ten

 divisions within DHSS provides essential services to meet our mission. DHSS has over 4,000

 full time employees and total budget/spending authority of over $5 billion.

        4.      Upon information and belief, I aver items 5 through 75.

        5.      Our department recently received six (6) award terminations from the U.S.

 Department of Health and Human Services, Administration for Community Living, Centers for

 Disease Control, and the Substance Abuse and Mental Health Services Administration. The total

 value of the terminated awards was $38,556,637.56. All terminations were purportedly “for

 cause” based on the end of the COVID pandemic, rather than failure of DHSS and its divisions

 to follow the terms or conditions of the grants. Descriptions of each award and the effects of

 these terminations follow.




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 Delaware Division of Public Health: Addressing COVID-19 Health Disparities Among
 Populations at High-Risk and Underserved, Including Racial and Ethnic Minority
 Populations and Rural Communities Grant (Health Disparities Grant)
        6.      In 2020, the Department of Health and Human Services, Centers for Disease

 Control and Prevention invited applications for COVID Health Disparities.

        7.      The purpose of this grant was to provide funding to address COVID-19 and

 advance health equity (e.g., through strategies, interventions, and services that consider systemic

 barriers and potentially discriminatory practices to at risk populations).

        8.      As set out in its grant proposal, DHSS, Department of Public Health (DPH),

 intended to use the COVID Health Disparities Grant during the 24-month grant award to: 1.

 Expand existing and/or develop new mitigation and prevention resources and services to reduce

 COVID-19 related disparities among populations at higher risk and that are underserved; 2.

 Increase/improve data collection and reporting for populations experiencing a disproportionate

 burden of COVID-19 infection, severe illness, and death to guide the response to the COVID-19

 pandemic; 3. Build, leverage, and expand infrastructure support for COVID-19 prevention and

 control among populations that are at higher risk and underserved; and, 4. Mobilize partners and

 collaborators to advance health equity and address social determinants of health as they relate to

 COVID-19 health disparities among populations at higher risk and that are underserved.

        9.      The grant start date was June 1, 2021, and had an end date of August 29, 2026;

 the total received was $24,903,685.00.

        10.     Since June 2021, DPH has used the COVID-19 Health Disparities grant funds in a

 manner fully consistent with Centers for Disease Control and Prevention’s statements regarding

 the nature of the grant and DPH’s grant application.




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        11.     These funds have been essential in supporting healthcare providers, public health

 professionals, and community organizations, and ensuring a coordinated, data-driven approach to

 improving health outcomes.

        12.     As of March 24, 2025, the agency has $4,184,923.07 in remaining funds, with a

 performance end date of May 31, 2026. These funds were designated to support several key

 initiatives aimed at strengthening public health and community well-being. Expenditures are

 drawn each Monday from Payment Management System (PMS), with the next scheduled draw to

 this coming Monday, March 31, 2025.

        13.     We have consistently demonstrated a strong track record of timely and accurate

 submissions in accordance with the grant requirements. All required reports and documentation

 have been submitted on schedule, meeting or exceeding the expectations outlined in the grant

 guidelines. Our agency has a history of ensuring compliance with all relevant deadlines and

 reporting standards, and we have maintained a high level of accountability throughout the course

 of this project. We a proven history of successful grant management, with previous award

 continuations and successful completions of projects in earlier cycles. This ongoing

 commitment to excellence underscores our capacity to meet the expectations set forth in the

 grant and to continue delivering quality results.

        14.     Our agency has a strong history of successfully receiving approval to extend or

 repurpose funds for non-COVID needs, aligning with evolving public health priorities and

 ensuring that resources are used effectively to address emerging challenges. We have worked

 closely with funding bodies to gain approval for reallocating funds toward critical initiatives

 such as whole-person centered disease prevention efforts.




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        15.     On March 25, 2025, without any prior notice or indication, the Centers for

 Disease Control and Prevention informed DPH that effective March 24, 2025, its Activities to

 Support State, Tribal, Local, and Territorial (STLT) Health Department Response to Public

 Health or Healthcare Crises grant was being terminated as of March 24, 2025. A true and correct

 copy of the Notice of Award providing the termination notice is attached as Exhibit A.

        16.     According to the Termination section of the Terms and Conditions of Award at

 page 5 of Exhibit A:

        Termination: The purpose of this amendment is to terminate the use of any
        remaining COVID-19 funding associated with this award. The termination of
        this funding is for cause. HHS regulations permit termination if “the non-
        Federal entity fails to comply with the terms and conditions of the award”, or
        separately, “for cause.” The end of the pandemic provides cause to terminate
        COVID-related grants and cooperative agreements. These grants and
        cooperative agreements were issued for a limited purpose: to ameliorate the
        effects of the pandemic. Now that the pandemic is over, the grants and
        cooperative agreements are no longer necessary as their limited purpose has
        run out. Termination of use of funding under the listed document number(s) is
        effective as of the date set out in your Notice of Award.
        17.     DPH noticed several irregularities regarding the termination notice. The Grant

 Action Notice (GAN) was received outside of business hours at 7:12 AM, which is unusual.

 Additionally, the GAN was sent after the termination date; while the termination date was

 indicated as March 24, the notice was actually received on March 25. Furthermore, the GAN

 lacked crucial information, specifically regarding the appeal rights and process, which is

 typically included in such notices. These discrepancies raised concerns about the timeliness and

 completeness of the termination communication.

        18.     DHSS relied and acted upon its expectation and understanding that the Centers for

 Disease Control and Prevention would fulfill its commitment to provide funding it had awarded

 to DPH.



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        19.     The sudden and unexpected termination of this funding, without prior notice, has

 caused significant hardship. It has hindered our ability to meet obligations to contractors and

 other partners, leaving us unable to complete critical work in preparing for future health crises or

 building the necessary public health infrastructure. The lack of timely communication or notice

 of the funding change disrupted our operations, created uncertainty for our stakeholders, and

 jeopardized the progress made toward our objectives. This unexpected setback has not only

 affected our ability to fulfill our commitments but has also impaired our capacity to continue

 addressing pressing public health needs.

        20.     Prior to the grant award termination on March 24, 2025, the Centers for Disease

 Control and Prevention had never provided DPH with notice, written or otherwise, that the grant

 administered by DPH was in any way unsatisfactory.

 Coronavirus Aid, Relief, and Economic Security Act ("CARES Act") Community Health
 Workers Grant
        21.     In 2020, the Department of Health and Human Services, Centers for Disease

 Control and Prevention invited applications for COVID Health Disparities.

        22.     As set out in its grant proposal, DPH intended to use the Community Health

 Workers Grant to strengthen the Community Health Worker (CHW) workforce and

 infrastructure through various initiatives.

        23.     The grant start date was June 1, 2021, and had an end date of November 30, 2025,

 total received was $9,000,000. These funds were not set to expire until 08/29/2026.

        24.     The project has successfully completed many of its objectives, though some

 components are still in progress. Community Health Workers (CHWs) have been successfully

 integrated into several organizations, including Henrietta Johnson Medical Center, La Red, New

 Castle Prevention Coalition, Westside Family Healthcare, YWCA, Delaware Coalition Against


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 Domestic Violence, and Nemours, all of which were selected through a formal bidding process.

 These organizations have carried out their responsibilities, providing monthly reports,

 conducting screenings, and tracking progress toward goals. The project is on track to conclude

 on August 31, 2025.

        25.     As of March 24, 2025, $4,263,936.79 in remaining funds committed by HHS

 were allocated to support ongoing public health initiatives, with a performance end date of

 November 30, 2025. These funds were intended to strengthen the Community Health Worker

 (CHW) workforce and infrastructure through initiatives such as board development for the

 Community Health Worker Association, training programs to establish CHW pathway agencies,

 and technical assistance on sustainable funding models for CHW work. Additionally, a public

 awareness campaign was planned to promote CHW certification, along with operational

 expenses for printing, supplies, and equipment. A key component of the funding was the

 establishment of a Pathways Community Hub, designed to improve care coordination and

 connect individuals to essential health and social services. Furthermore, the funds supported 33.5

 CHW positions across six organizations, including federally qualified health centers and

 community-based organizations, ensuring continued healthcare access and public health support

 in underserved communities. Expenditures are drawn each Monday from PMS, with the next

 scheduled draw to this coming Monday, March 31, 2025.

        26.     We have consistently demonstrated a strong track record of timely and accurate

 submissions in accordance with the grant requirements. All required reports and documentation

 have been submitted on schedule, meeting or exceeding the expectations outlined in the grant

 guidelines. Our agency has a history of ensuring compliance with all relevant deadlines and

 reporting standards, and we have maintained a high level of accountability throughout the course



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 of this project. We have a proven history of successful grant management, with previous award

 continuations and successful completions of projects in earlier cycles. This ongoing

 commitment to excellence underscores our capacity to meet the expectations set forth in the

 grant and to continue delivering quality results.

        27.     On March 25, 2025, without any prior notice or indication, the Centers for

 Disease Control and Prevention informed the Division of Public Health that, effective March 24,

 2025, its Community Health Workers grant was being terminated as of March 24, 2025. A true

 and correct copy of the Notice of Award providing the termination notice is attached as Exhibit

 B.

        28.     According to the Termination section of the Terms and Conditions of Award at

 page 4 of Exhibit B:

      Termination: The purpose of this amendment is to terminate this award which is
      funded by COVID-19 supplemental appropriations. The termination of this award is
      for cause. HHS regulations permit termination if “the non-Federal entity fails to
      comply with the terms and conditions of the award”, or separately, “for cause.” The
      end of the pandemic provides cause to terminate COVID-related grants and
      cooperative agreements. These grants and cooperative agreements were issued for a
      limited purpose: to ameliorate the effects of the pandemic. Now that the pandemic is
      over, the grants and cooperative agreements are no longer necessary as their limited
      purpose has run out. Termination of this award is effective as of the date set out in
      your Notice of Award.
        29.     The agency/entity noticed several irregularities regarding the termination notice.

 The Grant Action Notice (GAN) was received outside of business hours at 7:12 AM, which is

 unusual. Additionally, the GAN was sent after the termination date; while the termination date

 was indicated as March 24, the notice was actually received on March 25. Furthermore, the GAN

 lacked crucial information, specifically regarding the appeal rights and process, which is

 typically included in such notices. These discrepancies raised concerns about the timeliness and

 completeness of the termination communication.

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        30.     DHSS relied and acted upon its expectation and understanding that HHS would

 fulfill its commitment to provide Community Health Workers grant funding it had awarded to

 DPH. DPH structured work plans, coordinated with contractors, and made significant

 investments based on this understanding, including efforts to integrate CHWs into key

 organizations, support public health education, and strengthen preparedness for future public

 health emergencies. The sudden and unexpected termination of this funding, without prior

 notice, has caused significant hardship. It has hindered our ability to meet obligations to

 contractors and other partners, leaving us unable to complete critical work in preparing for future

 health crises or building the necessary public health infrastructure. The lack of timely

 communication or notice of the funding change disrupted our operations, created uncertainty for

 our stakeholders, and jeopardized the progress made toward our objectives. This unexpected

 setback has not only affected our ability to fulfill our commitments but has also impaired our

 capacity to continue addressing pressing public health needs.

        31.     The termination of funding for 33 CHWs will result in significant harm to both

 the workers and the communities they serve. These CHWs have been essential in providing

 health services during the pandemic, including education, vaccination, and outreach, particularly

 in underserved populations. Their job loss will cause economic hardship for the workers and

 their families, destabilize the delivery of vital health services, and erode trust in healthcare

 systems in these communities. Vulnerable populations will face increased health disparities, as

 the CHWs’ absence will disrupt critical pandemic response efforts and long-term health

 initiatives. Despite efforts to secure alternative funding, the sudden termination leaves

 insufficient time to find solutions, causing an immediate loss of employment and a breakdown in

 health infrastructure.



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         32.    Prior to the grant award termination on March 24, 2025, the Centers for Disease

 Control had never provided the Division of Public Health with notice, written or otherwise, that

 the grant administered by the Division of Public Health was in any way unsatisfactory.

 COVID-19 Carryover Activities - Immunization Grant

         33.    Since June 2021, DPH has used the COVID-19 Carryover Activities -

 Immunization Grant funds in a manner fully consistent with the Centers for Disease Control and

 Prevention’s statements regarding the nature of the grant and DPH grant application.

         34.    The Immunization Program utilized this funding to support a number of initiatives

 to educate and influence Delawareans to receive COVID-19 vaccinations. Expenditures are

 drawn each Monday from PMS, with the next scheduled draw to this coming Monday, March 31,

 2025.

         35.    There is $2.7 million dollars of obligated funding as of March 24, 2025, and these

 funds were obligated to supporting nine (9) personnel positions, with a cost of $388,000. The

 remaining amount was obligated toward contractual services, which included temporary

 employment, outreach services, advertising and information technology services.

         36.    The immunization program at DPH has never missed a deadline, has maintained

 compliance requirements and timely reported to the Centers for Disease Control and Prevention.

 Changes in funding will reduce staffing, reduce vaccine access, and decrease access to vaccine

 by clinical providers across the state.

         37.    The last two years, the program has been able to utilize COVID funding for

 immunization related services by requesting funding amounts and providing a justification for

 services. The most recent request was submitted on February 7, 2025.




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        38.     On March 25, 2025, without any prior notice or indication, the Centers for

 Disease Control and Prevention informed DPH that effective March 24, 2025, its grant was being

 terminated as of March 24, 2025. A true and correct copy of the Notice of Award providing the

 termination notice is attached as Exhibit C.

        39.     According to the Termination section of the Terms and Conditions of Award at

 page 5 of Exhibit C:

        Termination: The purpose of this amendment is to terminate the use of any
        remaining COVID-19 funding associated with this award. The termination of this
        funding is for cause. HHS regulations permit termination if “the non-Federal
        entity fails to comply with the terms and conditions of the award”, or separately,
        “for cause.” The end of the pandemic provides cause to terminate COVID-related
        grants and cooperative agreements. These grants and cooperative agreements
        were issued for a limited purpose: to ameliorate the effects of the pandemic. Now
        that the pandemic is over, the grants and cooperative agreements are no longer
        necessary as their limited purpose has run out. Termination of use of funding
        under the listed document number(s) is effective as of the date set out in your
        Notice of Award.

        40.     DPH relied and acted upon its expectation and understanding that the Centers for

 Disease Control and Prevention would fulfill its commitment to provide funding it had awarded

 to DPH. Contracts for Community Based Organizations (CBOs) will be impacted, personnel will

 not be available to assist providers in acquiring vaccines and service-line impacts will be

 significant across the public and private sectors statewide.

        41.     The Immunization Program was utilizing funding to enhance the state’s capability

 to manage vaccine preventable disease tracing with connectivity to immunization data, which

 has not been accomplished in this state before. Funding was also being utilized to provide media

 plans to reinforce the efforts to maintain proper immunization level for all Delawareans, and to

 decrease the levels of vaccine hesitancy within the state. Without this funding, the health of

 Delawareans is in jeopardy.


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        42.     Prior to the grant award termination on March 25, 2025, the Centers for Disease

 Control and Prevention had never provided DPH with notice, written or otherwise, that the grant

 administered by DPH was in any way unsatisfactory.

 Epidemiology and Laboratory Capacity for Prevention and Control of Emerging Infectious
 Diseases (ELC) Grant

        43.     In 2020, the Department of Health and Human Services, Centers for Disease

 Control and Prevention issued supplemental COVID-19 funding through the existing

 Epidemiology & Laboratory Capacity Cooperative Agreement to Delaware.

        44.     The purpose of these supplemental grant awards was to provide funding to

 address COVID-19 response through expanded surveillance and detection of the SARS-CoV-2

 virus via collection, testing, training, data system enhancements, outreach, education, and contact

 tracing among other capacity-building initiatives such as expanding the Public Health

 Laboratory.

        45.     As set out in its grant proposal, DPH intended to use the award to 1.address health

 disparities; 2. enhance laboratory, surveillance, and other workforce capacity; 3. strengthen

 laboratory testing; advance electronic data exchange at Public Health labs; 4. improve

 surveillance and reporting of electronic health data; and 5. use laboratory data to enhance

 investigation, response, and prevention; coordinate and engage with partners.

        46.     The supplemental awards start date ranged from May 2020 and had an extended

 end date of July 31, 2026; the total received was $129,000,000.00.

        47.     Since 2020, DPH has used the ELC grant funds in a manner fully consistent with

 the Centers for Disease Control and Prevention’s statements regarding the nature of the grant and

 DPH grant application.




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          48.   Per the grant guidance and per Delaware’s approved budgets and workplans, the

 funds have been utilized to build capacity in DPH in cross-functional areas such as laboratory,

 epidemiology, informatics, information technology, training and personnel management, among

 other areas. Delaware formed strong partnerships beyond traditional emergency management and

 health services. ELC funding expanded testing capacity, increasing State Lab capabilities with

 staffing, equipment, and space. Federal assistance supported supply and staffing distribution.

 Third-party contractor partnerships helped Delaware achieve the federal goal of 80,000 tests per

 month.

          49.   As of March 24th, 2025, the amount of funds remaining was a total of

 $28,071,910.15 that was intended to be spent by 7/31/26. This was represented by 150 active

 purchase orders and 53 state positions. These funds were obligated to be used to complete

 capacity projects such as the Delaware Public Health Laboratory Expansion and the new

 Delaware disease surveillance system. Funds were also obligated for staff salaries, fringe, and

 indirect costs through the end of the grant period for them to complete their functions under the

 awarded grants. Expenditures are drawn each Monday from PMS, with the next scheduled draw

 to this coming Monday, March 31, 2025.

          50.   The Division of Public Health routinely meets with the Centers for Disease

 Control and Prevention to discuss financials, workplan progress, barriers to complete work under

 the award, and future discussions. On Friday, March 21, 2025, at 1PM EST, Delaware’s ELC

 Governance Team held a regularly scheduled meeting with the ELC Project Officers including

 the Director of ELC who was able to participate. There was not a mention of funding cuts that

 were to be taking place at close of business Monday March 24, 2025. The ELC Program, or the

 Centers for Disease Control and Prevention, has never audited or performed a site visit for



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 Delaware due to our compliance with the federal award requirements and our timely and detailed

 responses to the federal program.

        51.     On March 25, 2025, without any prior notice or indication, the Centers for

 Disease Control and Prevention informed DPH that effective March 24, 2025, its ELC grants

 were being terminated as of 3/24/25. A true and correct copy of the Notice of Award providing

 the termination notice is attached as Exhibit D.

        52.     According to the Termination section of the Terms and Conditions of Award at

 page 4 of Exhibit D:

        Termination: The purpose of this amendment is to terminate the use of any
        remaining COVID-19 funding associated with this award. The termination of this
        funding is for cause. HHS regulations permit termination if “the non-Federal
        entity fails to comply with the terms and conditions of the award”, or separately,
        “for cause.” The end of the pandemic provides cause to terminate COVID-related
        grants and cooperative agreements. These grants and cooperative agreements
        were issued for a limited purpose: to ameliorate the effects of the pandemic. Now
        that the pandemic is over, the grants and cooperative agreements are no longer
        necessary as their limited purpose has run out. Termination of use of funding
        under the listed document number(s) is effective as of the date set out in your
        Notice of Award.
        53.     Two major irregularities were identified on the notice of award received by

 Delaware. While the notice of award was intended to target the ELC CARES, Awards, the award

 notice reduced Delaware’s total award by $179,758,072.55 – more than the $129,000,000.00 of

 the total grant awards. In addition, Delaware was only given 30 days to close out these awards.

 The closeout period that was provided on every notice of award received prior was 120 days.

        54.     DHSS relied and acted upon its expectation and understanding that the Centers for

 Disease Control and Prevention would fulfill its commitment to provide ELC funding it had

 awarded to DPH. Without this obligated funding, Delaware must now make up the difference in

 roughly $28,071,910.15 in funds related to these four supplemental awards alone. This includes


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 obligations for contracts, personnel, construction, surveillance systems, equipment and supply

 purchases, and more.

        55.     By terminating this obligated funding, Delaware is now placed in greater financial

 risk. There is, as of now, no identified funding to finish the construction project (potential $8M

 obligation in addition to costs incurred for delay of project). There is, as of now, no identified

 funding to support staffing (roughly $8M). There is a great risk of shuttering public health

 operations for critical laboratory and surveillance services due to the sudden nature of this

 funding termination

        56.     Prior to the grant award termination on March 25, 2025, the Centers for Disease

 Control and Prevention had never provided DPH with notice, written or otherwise, that the grant

 administered by the Centers for Disease Control and Prevention was in any way unsatisfactory.

 Delaware Division of Substance Abuse and Mental Health: Community Mental Health
 Treatment- American Rescue Plan Act (ARPA) Supplemental Funding for Community
 Mental Health Treatment (CMHBG)
        57.     In 2021, the Department of Health and Human Services, HSS Substance Abuse

 and Mental Health Services Administration Center for Substance Abuse Treatment invited

 applications for Community Mental Health Block Grant (CMHBG) - American Rescue Plan Act

 (ARPA) Supplemental Funding for the Community Mental Health Treatment (CMHBG).

        58.     The purpose of this grant was to: advance the development of crisis and other

 needed prevention, intervention, treatment and recovery support services; expansion of crisis

 services by increasing the pool of available peers for use with Mobile Crisis Teams and provide

 additional training for all staff in suicide risk assessment that meets NSPL standards; expansion

 of respite services for the adolescent population to include both overnight and hourly options in

 order to provide better alternatives to inpatient crisis beds for youth and their families; support of

 health IT infrastructure and advancement by configuring and deploying a cloud-based Care

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 Coordination tool that will facilitate the appropriate care across multiple organizations caring for

 clients with Behavioral Health disorder.

        59.     As set out in its grant proposal, DHSS/Division of Substance Abuse and Mental

 Health (DSAMH) intended to use the Community Mental Health Block Grant (CMHBG) -

 American Rescue Plan Act (ARPA) Supplemental Funding for the Community Mental Health

 Treatment (CMHBG) in alignment with the priorities established by the DSAMH and approved

 by the Community Behavioral Health Services Block Grant Subcommittee.

        60.     The grant start date was September 1, 2021, and had an end date of September 30,

 2025, total received was $3,326,504.00.

        61.     On March 25, 2025, HSS Substance Abuse and Mental Health Services

 Administration Center for Substance Abuse Treatment produced a communication via email

 setting forth the terms and conditions of the grant award. A true and correct copy of the notice,

 dated May 17, 2021, is attached as Exhibit E. As set forth therein, termination of the grant by

 HHS Substance Abuse and Mental Health Services Administration Center for Substance Abuse

 Treatment is permitted only for cause.

        62.     Since September 2021, DHSS/Division Substance Abuse and Mental Health has

 used the Community Mental Health Block Grant (CMHBG) - American Rescue Plan Act

 (ARPA) Supplemental Funding for the Community Mental Health Treatment (CMHBG) grant

 funds in a manner fully consistent with HHS Substance Abuse and Mental Health Services

 Administration Center for Substance Abuse Treatment’s statements regarding the nature of the

 grant and DHSS/Division of Substance Abuse and Mental Health grant application.

        63.     We have consistently demonstrated a strong track record of timely and accurate

 submissions in accordance with the grant requirements. All required reports and documentation



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 have been submitted on schedule, meeting or exceeding the expectations outlined in the grant

 guidelines. Our agency has a history of ensuring compliance with all relevant deadlines and

 reporting standards, and we have maintained a high level of accountability throughout the course

 of this project. We a proven history of successful grant management, with previous award

 continuations and successful completions of projects in earlier cycles. This ongoing

 commitment to excellence underscores our capacity to meet the expectations set forth in the

 grant and to continue delivering quality results.

        64.       On March 26, 2025, DSAMH attempted to draw the week prior’s expenditures,

 but they were pushed back as unauthorized. This means that DSMAH is unable to draw for

 reimbursement funds the agency has already expended on program associated with its COVID

 grants. This happened for three separate reimbursements totaling $101,820.20. SAMHSA

 indicated that reimbursements after termination are allowable if it results from obligations which

 were properly incurred before the effective date of this termination; however, all our draws have

 been rejected.

        65.       DHSS relied and acted upon its expectation and understanding that SAMHSA

 would fulfill its commitment to provide funding it had awarded to DHSS.

        66.       The sudden and unexpected termination of this funding, without prior notice, has

 caused significant hardship. It has hindered our ability to meet obligations to contractors and

 other partners, leaving us unable to complete critical work. The lack of timely communication or

 notice of the funding change disrupted our operations, created uncertainty for our stakeholders,

 and jeopardized the progress made toward our objectives. This unexpected setback has not only

 affected our ability to fulfill our commitments but has also impaired our capacity to continue

 addressing the mental health needs of Delawareans.



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        67.     Prior to the grant award termination on March 24, 2025, the Centers for Disease

 Control and Prevention had never provided DPH with notice, written or otherwise, that the grant

 administered by DPH was in any way unsatisfactory.

 Block Grants for Community Mental Health Services

        68.     In 2021, the Department of Health and Human Services, HSS Substance Abuse

 and Mental Health Services Administration Center for Substance Abuse Treatment invited

 applications for Block Grants for Community Mental Health Services MHBG FY2021 ARP

 Mitigation.

        69.     The supplemental ARPA Funds from the grant are used to provide continuum of

 substance abuse prevention and treatment services through a service provider network. As set out

 in its grant proposal, DHSS/Division of Substance Abuse and Mental Health intended to use the

 Block Grants for Community Mental Health Services MHBG FY2021 ARP Mitigation expand

 dedicated testing and mitigation resources for people with mental health issues over a four-year

 period. These funds were to provide resources and flexibility for states to prevent, prepare for,

 and respond to the coronavirus disease 2019 (COVID19) public health emergency and ensure the

 continuity of services to support individuals connected to the behavioral health system. The grant

 start date was September 1, 2021, and had an end date of September 30, 2025, total received was

 $125,000.00

        70.     On March 24, 2025, without any prior notice or indication, HSS Substance Abuse

 and Mental Health Services Administration Center for Substance Abuse Treatment sent an email

 informing DHSS that, effective March 24, 2025, the grant was terminated. Although the stated

 effective termination date was March 24, 2025, the email was sent after business hours (5:39

 p.m.) on March 24, 2025. Therefore, the termination notice was not received by DHSS until



                                                 18
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                                          #: 1722



 March 25, 2025. A true and correct copy of the corresponding email, dated March 24, 2025, is

 attached as Exhibit F.

        71.     According to the email:

     During the COVID-19 pandemic, the Substance Abuse Mental Health Services
     Administration(SAMHSA) awarded several pandemic-related grants including the funded
     Coronavirus Preparedness and Response Supplemental Appropriations Act, 2020
     (H.R.6074) (CRRSA) which provided funds to respond to the coronavirus outbreak and the
     American Rescue Plan (ARP) Act of 2021(H.R. 1319) which provided additional relief to
     address the continued impact of COVID-19 (i.e., coronavirus disease 2019) on the economy,
     public health, state and local governments, individuals, and businesses.

     On April 10, 2023, President Biden signed PL 188-3 terminating the national emergency
     concerning the COVID-19 pandemic. Consistent with the President’s Executive Order
     14222, Implementing the President’s “Department of Government Efficiency” Cost
     Efficiency Initiative requiring a comprehensive review of SAMHSA grants, and where
     appropriate and consistent with applicable law, terminate such grants to reduce the overall
     Federal spending this grant is being terminated effective March 24, 2025. These grants were
     issued for a limited purpose: To ameliorate the effects of the pandemic. The end of the
     pandemic provides cause to terminate COVID-related grants. Now that the pandemic is
     over, the grants are no longer necessary.

 Substance Abuse and Mental Health has used the Substance Abuse Prevention and
 Treatment Block Grant

        72.     Since September 2021, DHSS/Division Substance Abuse and Mental Health has

 used the Substance Abuse Prevention and Treatment Block Grant (SABG) – SABG FY2021

 ARP Mitigation grant funds in a manner fully consistent with HHS Substance Abuse and Mental

 Health Services Administration Center for Substance Abuse Treatment’s statements regarding

 the nature of the grant and DHSS/Division of Substance Abuse and Mental Health grant

 application.

        73.     On March 24, 2025, without any prior notice or indication, HHS Substance Abuse

 and Mental Health Services Administration Center for Substance Abuse Treatment sent an email

 informing DHSS that, effective March 24, 2025, its Substance Abuse Prevention and Treatment



                                               19
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                                          #: 1723



 Block Grant (SABG) – SABG FY2021 ARP Mitigation was being terminated as of March 24,

 2025. A true and correct copy of the grant award termination email is attached as Exhibit G.

        74.    According to the email:

        Dear Single State Authority Director and State Mental Health Commissioner,

        During the COVID-19 pandemic, the Substance Abuse and Mental Health
        Services Administration (SAMHSA) awarded several pandemic-related grants
        including the funded Coronavirus Preparedness and Response Supplemental
        Appropriations Act, 2020 (H.R.6074) (CRRSA) which provided funds to respond
        to the coronavirus outbreak and the American Rescue Plan (ARP) Act of
        2021(H.R. 1319) which provided additional relief to address the continued impact
        of COVID-19 (i.e., coronavirus disease 2019) on the economy, public health, state
        and local governments, individuals, and businesses.

        On April 10, 2023, President Biden signed PL 188-3 terminating the national
        emergency concerning the COVID-19 pandemic. Consistent with the President’s
        Executive Order 14222, implementing the President’s “Department of
        Government Efficiency” Cost Efficiency Initiative requiring a comprehensive
        review of SAMHSA grants, and where appropriate and consistent with applicable
        law, terminate such grants to reduce the overall Federal spending this grant is
        being terminated effective March 24, 2025. These grants were issued for a
        limited purpose: To ameliorate the effects of the pandemic. The end of the
        pandemic provides cause to terminate COVID-related grants. Now that the
        pandemic is over, the grants are no longer necessary.


        75.    DHSS relied and acted upon its expectation and understanding that HHS would

 fulfill its commitment to provide Substance Abuse Prevention and Treatment Block Grant

 (SABG) – SABG FY2021 ARP Mitigation) funding it had awarded to DHSS/Division of

 Substance Abuse and Mental Health

        76.    Prior to the grant award termination on March 24, 2025, HHS Substance Abuse

 and Mental Health Services Administration Center for Substance Abuse Treatment had never

 provided DHSS/Division of Substance Abuse and Mental Health with notice, written or

 otherwise, that the grant administered by DHSS/Division of Substance Abuse and Mental Health

 was in any way unsatisfactory.

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                                            #: 1724



 Conclusion

        77.     The termination of funding, totaling $38,556,637.56, will result in significant

 harm to both the staff and the people the Department of Health and Social Services serve. Our

 Department is instrumental in providing health services, including education, vaccination,

 outreach, and behavioral health and substance abuse treatment, particularly for underserved

 populations, who will face increased health disparities as a result of these cuts. Despite efforts to

 secure alternative funding, the sudden termination leaves insufficient time to find solutions,

 resulting in an immediate loss of employment, a breakdown in health infrastructure and

 irreparable harm to the health of Delawareans.

       I declare under penalty of perjury under the laws of the United States that, to the best of

 my knowledge, the foregoing is true and correct.




                Executed on March 29, 2025, at New Castle, DE.



                                                ___________________________________
                                                      Josette D. Manning, Esq.
                                                      Cabinet Secretary
                                                      Delaware Department of Health and Social
                                                      Services




                                                  21
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                                   #: 1725
          Case 1:25-cv-00121-MSM-LDA Document 4-14 Filed 04/01/25 Page 23 of 65 PageID
                                           #: 1726SERVICES
                DEPARTMENT OF HEALTH AND HUMAN                  Notice of Award
                                                                                                                       6 NH75OT000088-01-06
                Centers for Disease Control and Prevention
                                                                                                                       NH75OT000088
                                                                                                                                       03/24/2025



Recipient Information                                                               Federal Award Information
   Recipient Name                                         Award Number
    EXECUTIVE OFFICE OF THE GOVERNOR OF                   6 NH75OT000088-01-06
                                                          Unique Federal Award Identification Number (FAIN)
    DELAWARE
                                                          NH75OT000088
    417 Federal St Ste 1                                  Statutory Authority
    Dover, DE 19901-3635                                  317(K)(2) OF PHSA 42USC 247B(K)(2)
    [NO DATA]
                                                          Federal Award Project Title
   Congressional District of Recipient                    Delaware Division of Public Health: Addressing COVID-19 Health Disparities Among Populations at High-
   00                                                     Risk and Underserved, Including Racial and Ethnic Minority Populations and Rural Communities
   Payment
   1516000279A3
                                                          93.391
   516000279
                                                                                Program Title
         Universal Numbering System (DUNS)                Activities to Support State, Tribal, Local and Territorial (STLT) Health Department Response to Public
   103989187                                              Health or Healthcare Crises

   GKQPH6J32LN7                                           Terminate

                                                          No
    Dr. Shonetesha Quail
    Associate Deputy Director                                      Summary Federal Award
    shonetesha.quail@delaware.gov
                                                           Budget Period Start Date           06/01/2021                  03/24/2025
    302-744-4741
                                                           Total Amount of Federal Funds Obligated by                                                        $0.00
                                                                                                                                                             $0.00
    Ms. Michelle Bruner
                                                                                                                                                             $0.00
    Chief of Administration/Sr. Fiscal Admin Officer
                                                                                                                                                             $0.00
    Michelle.Bruner@delaware.gov
    302-744-4932                                                                                                                                             $0.00

                                                                                                                                                   $24,594,945.00
Federal Agency Information
                                                                                                                                                             $0.00
 CDC Office of Financial Resources
                                                                                                                                                   $24,594,945.00
9. Awarding Agency Contact Information
                                                                                                      06/01/2021                 03/24/2025
 Mr. Derick Wheeler , II
 Grants Management Specialist
                                                                                                                                                   $24,594,945.00
 tie2@cdc.gov
 678-475-4972
                                                       28. Authorized Treatment of Program Income
10.Program Official Contact Information                    ADDITIONAL COSTS
 Nahyun Cho
                                                       29. Grants Management Officer – Signature
 Program Officer
                                                           Mrs. Erica Stewart
 tcz6@cdc.gov
                                                           Team Lead, Grants Management Officer
 802-999-9787




 Department Authority
         Case 1:25-cv-00121-MSM-LDA   Document 4-14 Filed 04/01/25                                 Page 24 of 65 PageID
                                            #: 1727SERVICES
                 DEPARTMENT OF HEALTH AND HUMAN
                 Centers for Disease Control and Prevention                                           6 NH75OT000088-01-06
                                                                                                      NH75OT000088
                                                                                                                   03/24/2025



Recipient Information                             3 . Approved Budget
                                                  (Excludes Direct Assistance)
                                                   I. Financial Assistance from the Federal Awarding Agency Only
 EXECUTIVE OFFICE OF THE GOVERNOR OF               II. Total project costs including grant funds and all other financial participation
 DELAWARE
                                                                                                                           $1,807,174.00
 417 Federal St Ste 1
                                                        Fringe Benefits                                                     $544,438.00
 Dover, DE 19901-3635
 [NO DATA]                                                  TotalPersonnelCosts                                            $2,351,612.00
                                                        Equipment                                                           $835,600.00

 00                                                     Supplies                                                             $42,701.00
                                                        Travel                                                                    $0.00
 1516000279A3
                                       Data             Construction                                                              $0.00
 516000279                                             . Other                                                             $1,736,193.00
Universal Numbering System (DUNS)
                                                   . Contractual                                                          $19,445,000.00
 103989187
Recipient’s Unique Entity Identifier               j. TOTAL DIRECT COSTS                                                 $24,411,106.00
 GKQPH6J32LN7
                                                       . INDIRECT COSTS                                                     $183,839.00

                                                   .                                                                     $24,594,945.00
 Project Grant
                                                         Federal Share                                                   $24,594,945.00

 Other                                                  Non-Federal Share                                                         $0.00


 3 .
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                      Document 4-14 Filed 04/01/25 Page 25 of 65 PageID
                            #: 1728 SERVICES Notice of Award
  DEPARTMENT OF HEALTH AND HUMAN
                                                       6 NH75OT000088-01-06
  Centers for Disease Control and Prevention
                                                       NH75OT000088
                                                                03/24/2025
    Case 1:25-cv-00121-MSM-LDA          Document 4-14   Filed 04/01/25   Page 26 of 65 PageID
                                              #: 1729
                                      AWARD ATTACHMENTS
EXECUTIVE OFFICE OF THE GOVERNOR OF DELAWARE                              6 NH75OT000088-01-06
1. Termination Terms and Conditions
Case 1:25-cv-00121-MSM-LDA   Document 4-14   Filed 04/01/25   Page 27 of 65 PageID
                                   #: 1730
Case 1:25-cv-00121-MSM-LDA   Document 4-14   Filed 04/01/25   Page 28 of 65 PageID
                                   #: 1731




                             Exhibit B
          Case 1:25-cv-00121-MSM-LDADocument 4-14 Filed 04/01/25 Page 29 of 65 PageID
                                          #: 1732SERVICES
               DEPARTMENT OF HEALTH AND HUMAN                  Notice of Award
                                                                                                                  6 NU58DP007049-03-03
               Centers for Disease Control and Prevention
                                                                                                                  NU58DP007049
                                                                                                                                  03/24/2025



Recipient Information                                                              Federal Award Information
   Recipient Name                                        Award Number
   EXECUTIVE OFFICE OF THE GOVERNOR OF                   6 NU58DP007049-03-03
                                                         Unique Federal Award Identification Number (FAIN)
   DELAWARE
                                                         NU58DP007049
   417 Federal St STE 1                                  Statutory Authority
   Executive Office Of The Governor Of Delaware          Coronavirus Aid, Relief, and Economic Security Act ("CARES Act") Public Law 116-136 Public Health
   Dover, DE 19901-3635                                  Service Act 42 U.S.C. 301(a)
   [NO DATA]                                             Federal Award Project Title
   Congressional District of Recipient                   How Delaware Plans to Address Community Health Workers for COVID Response and Resilient
   00                                                    Communities
   Payment
   1516000279B5
                                                         93.495
   516000279
                                                                              Program Title
         Universal Numbering System (DUNS)               Community Health Workers for Public Health Response and Resilient
   103989187

   GKQPH6J32LN7                                          Terminate

                                                         No
   Ms. Katherine Hughes
   Katherine.Hughes@delaware.gov                                  Summary Federal Award
   302-744-4712
                                                          Budget Period Start Date        08/31/2023                 03/24/2025
                                                          Total Amount of Federal Funds Obligated by                                                  $0.00
                                                                                                                                                      $0.00
   Ms. Michelle Bruner
                                                                                                                                                      $0.00
   Chief of Administration/Sr. Fiscal Admin Officer
                                                                                                                                                      $0.00
   Michelle.Bruner@delaware.gov
   302-744-4932                                                                                                                                       $0.00

                                                                                                                                              $3,000,000.00
Federal Agency Information
                                                                                                                                                      $0.00
 CDC Office of Financial Resources
                                                                                                                                              $3,000,000.00
9. Awarding Agency Contact Information
                                                                                                  08/31/2021                 03/24/2025
 Mr. Daniel Jackson
 Grants Management Specialist
                                                                                                                                               $9,000,000.00
 qpz2@cdc.gov
 (678) 475-4577
                                                      28. Authorized Treatment of Program Income
10.Program Official Contact Information                   ADDITIONAL COSTS
 Ms. Perrin Hicks
                                                      29. Grants Management Officer – Signature
 Program Officer
                                                          Darryl Mitchell
 swy2@cdc.gov
 7704880826




 Department Authority
         Case 1:25-cv-00121-MSM-LDA   Document 4-14 Filed 04/01/25                                      Page 30 of 65 PageID
                                            #: 1733SERVICES
                 DEPARTMENT OF HEALTH AND HUMAN
                 Centers for Disease Control and Prevention                                                6 NU58DP007049-03-03
                                                                                                           NU58DP007049
                                                                                                                        03/24/2025



Recipient Information                                  3 . Approved Budget
                                                       (Excludes Direct Assistance)
                                                        I. Financial Assistance from the Federal Awarding Agency Only
 EXECUTIVE OFFICE OF THE GOVERNOR OF                    II. Total project costs including grant funds and all other financial participation
 DELAWARE
                                                                                                                                  $51,439.00
 417 Federal St STE 1
                                                             Fringe Benefits                                                      $25,340.00
 Executive Office Of The Governor Of Delaware
 Dover, DE 19901-3635                                            TotalPersonnelCosts                                              $76,779.00
 [NO DATA]                                                   Equipment                                                                 $0.00

 00                                                          Supplies                                                             $40,212.00
                                                             Travel                                                                    $0.00
 1516000279B5
                                                Data         Construction                                                              $0.00
 516000279                                                  . Other                                                                $9,000.00
Universal Numbering System (DUNS)
                                                        . Contractual                                                           $2,859,658.00
 103989187
Recipient’s Unique Entity Identifier                   j. TOTAL DIRECT COSTS                                                   $2,985,649.00
 GKQPH6J32LN7
                                                            . INDIRECT COSTS                                                      $14,351.00

                                                        .                                                                      $3,000,000.00
 Project Grant
                                                              Federal Share                                                    $3,000,000.00

 Other                                                       Non-Federal Share                                                         $0.00


 3 .
    Case 1:25-cv-00121-MSM-LDA   Document 4-14   Filed 04/01/25   Page 31 of 65 PageID
                                       #: 1734
                            AWARD ATTACHMENTS
EXECUTIVE OFFICE OF THE GOVERNOR OF DELAWARE                       6 NU58DP007049-03-03
1. Terms and Conditions
Case 1:25-cv-00121-MSM-LDA   Document 4-14   Filed 04/01/25   Page 32 of 65 PageID
                                   #: 1735
Case 1:25-cv-00121-MSM-LDA   Document 4-14   Filed 04/01/25   Page 33 of 65 PageID
                                   #: 1736




                             Exhibit C
          Case 1:25-cv-00121-MSM-LDA Document 4-14 Filed 04/01/25 Page 34 of 65 PageID
                                           #: 1737SERVICES
                DEPARTMENT OF HEALTH AND HUMAN                  Notice of Award
                                                                                                               6 NH23IP922598-05-08
                Centers for Disease Control and Prevention
                                                                                                               NH23IP922598
                                                                                                                               03/24/2025



Recipient Information                                                        Federal Award Information
   Recipient Name                                 Award Number
   EXECUTIVE OFFICE OF THE GOVERNOR OF            6 NH23IP922598-05-08
                                                  Unique Federal Award Identification Number (FAIN)
   DELAWARE
                                                  NH23IP922598
   417 FEDERAL ST STE 1                           Statutory Authority
   -DUP                                           Sections 317, 317(k)(2) of the Public Health Service Act (42 U.S.C. Sections 247b, 247b(k)(2) and 247c), as
   DOVER, DE 19901-3635                           amended.
   [NO DATA]                                      Federal Award Project Title
   Congressional District of Recipient            COVID-19 Carryover Activities
   00
   Payment
   1516000279A1
                                                  93.268
   516000279
                                                                          Program Title
          Universal Numbering System (DUNS)       Immunization Cooperative Agreements
   103989187

   GKQPH6J32LN7                                   Administrative Action

                                                  No
   Mr. James E Talbott MPA
   Director, Immunization Program                          Summary Federal Award
   James.Talbott@delaware.gov
                                                   Budget Period Start Date           07/01/2023                  03/24/2025
   (302) 744-1181
                                                   Total Amount of Federal Funds Obligated by                                                        $0.00
                                                                                                                                                     $0.00
   Dr. Karyl T Rattay MD, MS
                                                                                                                                                     $0.00
   AO / Division Director
                                                                                                                                            $6,283,360.00
   Karyl.Rattay@delaware.gov
   302-744-4818                                                                                                                               $708,844.00

                                                                                                                                            $5,819,777.00
Federal Agency Information
                                                                                                                                                     $0.00
 CDC Office of Financial Resources
                                                                                                                                            $5,819,777.00
9. Awarding Agency Contact Information
                                                                                              07/01/2019                 03/24/2025
 Wayne Woods
 kuv1@cdc.gov
                                                                                                                                           $57,925,852.00
 770-488-2948


                                               28. Authorized Treatment of Program Income
10.Program Official Contact Information            ADDITIONAL COSTS
 Chelsea Toledo
                                               29. Grants Management Officer – Signature
 Program Official
                                                   Percy Jernigan
 rnv8@cdc.gov
 404-639-0229




 Department Authority
         Case 1:25-cv-00121-MSM-LDA
                                  Document 4-14 Filed 04/01/25                                 Page 35 of 65 PageID
                                        #: 1738SERVICES
             DEPARTMENT OF HEALTH AND HUMAN
             Centers for Disease Control and Prevention                                           6 NH23IP922598-05-08
                                                                                                  NH23IP922598
                                                                                                               03/24/2025



Recipient Information                         3 . Approved Budget
                                              (Excludes Direct Assistance)
                                               I. Financial Assistance from the Federal Awarding Agency Only
 EXECUTIVE OFFICE OF THE GOVERNOR OF           II. Total project costs including grant funds and all other financial participation
 DELAWARE
                                                                                                                       $1,813,645.00
 417 FEDERAL ST STE 1
                                                    Fringe Benefits                                                    $1,144,671.00
 -DUP
 DOVER, DE 19901-3635                                   TotalPersonnelCosts                                            $2,958,316.00
 [NO DATA]                                          Equipment                                                                 $0.00

 00                                                 Supplies                                                             $76,056.00
                                                    Travel                                                               $30,259.00
 1516000279A1
                                       Data         Construction                                                              $0.00
 516000279                                         . Other                                                              $415,986.00
Universal Numbering System (DUNS)
                                               . Contractual                                                           $8,944,220.00
 103989187
Recipient’s Unique Entity Identifier           j. TOTAL DIRECT COSTS                                                 $12,424,837.00
 GKQPH6J32LN7
                                                   . INDIRECT COSTS                                                     $387,144.00

                                               .                                                                     $12,811,981.00
 Cooperative Agreement
                                                     Federal Share                                                   $12,811,981.00

 Other                                              Non-Federal Share                                                         $0.00


 3 .
Case 1:25-cv-00121-MSM-LDA
                      Document 4-14 Filed 04/01/25 Page 36 of 65 PageID
                            #: 1739 SERVICES Notice of Award
  DEPARTMENT OF HEALTH AND HUMAN
                                                       6 NH23IP922598-05-08
  Centers for Disease Control and Prevention
                                                       NH23IP922598
                                                                 03/24/2025
    Case 1:25-cv-00121-MSM-LDA   Document 4-14   Filed 04/01/25   Page 37 of 65 PageID
                                       #: 1740
                            AWARD ATTACHMENTS
EXECUTIVE OFFICE OF THE GOVERNOR OF DELAWARE                        6 NH23IP922598-05-08
1. Terms and Conditions
Case 1:25-cv-00121-MSM-LDA   Document 4-14   Filed 04/01/25   Page 38 of 65 PageID
                                   #: 1741
Case 1:25-cv-00121-MSM-LDA   Document 4-14   Filed 04/01/25   Page 39 of 65 PageID
                                   #: 1742




                             Exhibit D
           Case 1:25-cv-00121-MSM-LDADocument 4-14 Filed 04/01/25 Page 40 of 65 PageID
                                           #: 1743SERVICES
                DEPARTMENT OF HEALTH AND HUMAN                  Notice of Award
                                                                                                                    6 NU50CK000497-05-07
                Centers for Disease Control and Prevention
                                                                                                                    NU50CK000497
                                                                                                                                    03/24/2025



Recipient Information                                                                Federal Award Information
   Recipient Name                                         Award Number
    EXECUTIVE OFFICE OF THE GOVERNOR OF                   6 NU50CK000497-05-07
                                                          Unique Federal Award Identification Number (FAIN)
    DELAWARE
                                                          NU50CK000497
    417 Federal St Ste 1                                  Statutory Authority
    Dover, DE 19901-3635                                  301(A)AND317(K)(2)PHS42USC241(A)247B(K)2
    [NO DATA]
                                                          Federal Award Project Title
    Congressional District of Recipient                   CK19-1904 Epidemiology and Laboratory Capacity for Prevention and Control of Emerging Infectious
   00                                                     Diseases (ELC)
   Payment
   1516000279B7
                                                          93.323
   516000279
                                                                                  Program Title
          Universal Numbering System (DUNS)               Epidemiology and Laboratory Capacity for Infectious Diseases (ELC)
   103989187

   GKQPH6J32LN7                                           Administrative Action

                                                          No
    Mr. Gregory Hovan
    Project Director                                               Summary Federal Award
    Gregory.Hovan@delaware.gov
                                                           Budget Period Start Date         08/01/2023                 03/24/2025
    302-802-5000
                                                           Total Amount of Federal Funds Obligated by                                                   $0.00
                                                                                                                                                        $0.00
    Ms. Michelle Bruner
                                                                                                                                                        $0.00
    Chief of Administration/Sr. Fiscal Admin Officer
                                                                                                                                              $10,092,996.00
    Michelle.Bruner@delaware.gov
    302-744-4932                                                                                                                               $1,238,595.00

                                                                                                                                               $4,703,058.00
Federal Agency Information
                                                                                                                                                        $0.00
 CDC Office of Financial Resources
                                                                                                                                               $4,703,058.00
9. Awarding Agency Contact Information
                                                                                                    08/01/2019                 03/24/2025
 Dr. Gwendolyn Demery Moore
 Grants Management Officer
                                                                                                                                             $195,792,721.55
 pne2@cdc.gov
 404-498-2596
                                                       28. Authorized Treatment of Program Income
10.Program Official Contact Information                    ADDITIONAL COSTS
 Mr. Patrick Nonnenmacher
                                                       29. Grants Management Officer – Signature
 Project Officer
                                                           Terrian Dixon
 DPEI
                                                           Grants Management Officer
 pen3@cdc.gov
 404.498.6222




 Department Authority
         Case 1:25-cv-00121-MSM-LDADocument 4-14 Filed 04/01/25                                 Page 41 of 65 PageID
                                         #: 1744SERVICES
              DEPARTMENT OF HEALTH AND HUMAN
              Centers for Disease Control and Prevention                                           6 NU50CK000497-05-07
                                                                                                   NU50CK000497
                                                                                                                03/24/2025



Recipient Information                          3 . Approved Budget
                                               (Excludes Direct Assistance)
                                                I. Financial Assistance from the Federal Awarding Agency Only
 EXECUTIVE OFFICE OF THE GOVERNOR OF            II. Total project costs including grant funds and all other financial participation
 DELAWARE
                                                                                                                        $3,972,745.00
 417 Federal St Ste 1
                                                     Fringe Benefits                                                    $2,537,369.00
 Dover, DE 19901-3635
 [NO DATA]                                               TotalPersonnelCosts                                            $6,510,114.00
                                                     Equipment                                                                 $0.00

 00                                                  Supplies                                                           $2,657,101.00
                                                     Travel                                                              $114,771.00
 1516000279B7
                                       Data          Construction                                                              $0.00
 516000279                                          . Other                                                             $2,801,335.00
Universal Numbering System (DUNS)
                                                . Contractual                                                           $2,844,304.00
 103989187
Recipient’s Unique Entity Identifier            j. TOTAL DIRECT COSTS                                                 $14,927,625.00
 GKQPH6J32LN7
                                                    . INDIRECT COSTS                                                   $1,107,024.00

                                                .                                                                     $16,034,649.00
 Cooperative Agreement
                                                      Federal Share                                                   $16,034,649.00

 Other                                               Non-Federal Share                                                         $0.00


 3 .
Case 1:25-cv-00121-MSM-LDA
                      Document 4-14 Filed 04/01/25 Page 42 of 65 PageID
                            #: 1745 SERVICES Notice of Award
  DEPARTMENT OF HEALTH AND HUMAN
                                                       6 NU50CK000497-05-07
  Centers for Disease Control and Prevention
                                                       NU50CK000497
                                                                03/24/2025
    Case 1:25-cv-00121-MSM-LDA   Document 4-14   Filed 04/01/25   Page 43 of 65 PageID
                                       #: 1746
                            AWARD ATTACHMENTS
EXECUTIVE OFFICE OF THE GOVERNOR OF DELAWARE                       6 NU50CK000497-05-07
1. Terms and Conditions
Case 1:25-cv-00121-MSM-LDA   Document 4-14   Filed 04/01/25   Page 44 of 65 PageID
                                   #: 1747
Case 1:25-cv-00121-MSM-LDA   Document 4-14   Filed 04/01/25   Page 45 of 65 PageID
                                   #: 1748




                             Exhibit E
               Department of Health and Document
       Case 1:25-cv-00121-MSM-LDA         Human Services
                                                       4-14 Filed 04/01/25                                                         Notice
                                                                                                                       Page 46 of 65      of Award
                                                                                                                                     PageID
               Substance Abuse and Mental Health Services
                                                   #: 1749Administration                                                                 FAIN# B09SM085340
                    Center for Mental Health Services                                                                                         Federal Award Date
                                                                                                                                                      05/17/2021



Recipient Information                               Federal Award Information
1. Recipient Name
   HEALTH AND SOCIAL SERVICES,
                                                   11. Award Number
   DELAWARE DEPARTMENT OF
                                                      1B09SM085340-01
   1901 N DUPONT HWY MAIN BLDG
                                                   12. Unique Federal Award Identification Number (FAIN)
  NEW CASTLE, DE 19720
                                                      B09SM085340
2. Congressional District of Recipient
                                                   13. Statutory Authority
   00
                                                      Subparts I&III,B,Title XIX,PHS Act/45 CFR Part96
3. Payment System Identifier (ID)
                                                   14. Federal Award Project Title
   1516000279B5
                                                      Block Grants for Community Mental Health Services
4. Employer Identification Number (EIN)
                                                   15. Assistance Listing Number
   516000279
                                                      93.958
5. Data Universal Numbering System (DUNS)
                                          16. Assistance Listing Program Title
   134632624
                                             Block Grants for Community Mental Health Services
6. Recipient’s Unique Entity Identifier
                                                   17. Award Action Type
                                                      New Competing
7. Project Director or Principal Investigator
                                                   18. Is the Award R&D?
   Alexis D Teitelbaum
                                                      No
  Alexis.teitelbaum@delaware.gov
  302-255-9416                                                         Summary Federal Award Financial Information
                                                     19. Budget Period Start Date 09/01/2021 – End Date 09/30/2025
8. Authorized Official                               20. Total Amount of Federal Funds Obligated by this Action                                       $3,326,504
                                                               20 a. Direct Cost Amount                                                               $3,326,504
                                                               20 b. Indirect Cost Amount                                                                         $0
                                                     21. Authorized Carryover
                                                     22. Offset
                                                     23. Total Amount of Federal Funds Obligated this budget period                                   $3,326,504
Federal Agency Information                           24. Total Approved Cost Sharing or Matching, where applicable                                                $0
9. Awarding Agency Contact Information               25. Total Federal and Non-Federal Approved this Budget Period                                    $3,326,504
   Wendy Pang                                               ---------------------------------------------------------------------------------------------------------
   Grants Management Specialist                      26. Project Period Start Date 09/01/2021 – End Date 09/30/2025
   Center for Mental Health Services                 27. Total Amount of the Federal Award including Approved Cost                                    $3,326,504
   wendy.pang@samhsa.hhs.gov                             Sharing or Matching this Project Period
   (240) 276-1419
10. Program Official Contact Information           28. Authorized Treatment of Program Income
   Michelle Gleason                                   Additional Costs

  Center for Mental Health Services                29. Grants Management Officer - Signature
  Michelle.Gleason@samhsa.hhs.gov                     Odessa Crocker
  240-276-1941
30. Remarks
    Acceptance of this award, including the "Terms and Conditions," is acknowledged by the recipient when funds are drawn down or otherwise
    requested from the grant payment system.




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                                            Notice of Award
   MHBG                                                    Issue Date:                   05/17/2021
   Department of Health and Human Services
   Substance Abuse and Mental Health Services Administration

   Center for Mental Health Services



    Award Number: 1B09SM085340-01
    FAIN:          B09SM085340-01
    Contact Person: Alexis D Teitelbaum

    Program: Block Grants for Community Mental Health Services

    HEALTH AND SOCIAL SERVICES, DELAWARE DEPARTMENT OF
    1901 N DUPONT HWY MAIN BLDG

    NEW CASTLE, DE 19720

    Award Period: 09/01/2021 – 09/30/2025

    Dear Grantee:

    The Substance Abuse and Mental Health Services Administration hereby awards a
    grant in the amount of     $3,326,504 (see “Award Calculation” in Section I) to HEALTH
    AND SOCIAL SERVICES, DELAWARE DEPARTMENT OF in support of the above
    referenced project. This award is pursuant to the authority of Subparts I&III,B,Title
    XIX,PHS Act/45 CFR Part96 and is subject to the requirements of this statute and
    regulation and of other referenced, incorporated or attached terms and conditions.

    Acceptance of this award including the “Terms and Conditions” is acknowledged by the
    grantee when funds are drawn down or otherwise obtained from the grant payment
    system.

    If you have any questions about this award, please contact your Grants Management
    Specialist and your Government Project Officer listed in your terms and conditions.


    Sincerely yours,
    Odessa Crocker
    Grants Management Officer
    Division of Grants Management

    See additional information below




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    SECTION I – AWARD DATA – 1B09SM085340-01

    FEDERAL FUNDS APPROVED:                                                                        $3,326,504

    AMOUNT OF THIS ACTION (FEDERAL SHARE):                                                         $3,326,504

    CUMULATIVE AWARDS TO DATE:                                                                     $3,326,504

    UNAWARDED BALANCE OF CURRENT YEAR’ S                                                                  $0
    FUNDS:


    Fiscal Information:
    CFDA Number:              93.958
    EIN:                1516000279B
                                   5
    Document            21B1DECMH
    Number:                     SC6
    Fiscal Year:                2021

    IC                        CAN                                           01
    SM                        C96D540                                       $3,326,504



    PCC: CMHS / OC: 4115

    SECTION II – PAYMENT/HOTLINE INFORMATION –                                          1B09SM085340-01

    Payments under this award will be made available through the HHS Payment
    Management System (PMS). PMS is a centralized grants payment and cash management
    system, operated by the HHS Program Support Center (PSC), Division of Payment
    Management (DPM). Inquiries regarding payment should be directed to: The Division of
    Payment Management System, PO Box 6021, Rockville, MD 20852, Help Desk Support
    – Telephone Number: 1-877-614-5533.

    The HHS Inspector General maintains a toll-free hotline for receiving information
    concerning fraud, waste, or abuse under grants and cooperative agreements. The
    telephone number is: 1-800-HHS-TIPS (1-800-447-8477). The mailing address is: Office
    of Inspector General, Department of Health and Human Services, Attn: HOTLINE, 330
    Independence Ave., SW, Washington, DC 20201.

    SECTION III – TERMS AND CONDITIONS – 1B09SM085340-01

    STANDARD TERMS AND CONDITIONS

    MHBG FY2021 ARPA funding
     Remarks:
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     This Notice of Award (NoA) provides American Rescue Plan Act of 2021 (ARPA)
     funding for the Community Mental Health Services (MHBG) Block Grant Program, in
     accordance with H.R. 1319 – American Rescue Plan Act of 2021 the ARPA Act, 2021
     [P.L. 117-2]. Consistent with HHS Disaster Relief Flexibilities, SAMHSA may waive
     requirements with respect to allowable activities, timelines, or reporting requirements
     for the MHBG, as deemed necessary to facilitate a grantee’s response to coronavirus.
     A proposal of the state’s spending plan must be submitted by July 2, 2021 via the Web
     Block Grant Application System (WebBGAS).
     Using the WebBGAS Revision Request for the FFY 2021 Block Grant Application,
     grantees are required to upload the Plan document (Microsoft Word or pdf), using the
     associated tab in the State Information Section, Chief Executive Officer’s Funding
     Agreement – Certifications and Assurances/Letter Designating Signatory Authority
     [MH]. Please title this document “ARPA Funding Plan 2021-MH". States must upload
     separate proposals based on MHBG and SABG guidance into the WebBGAS system.
     Further information on this is included in the letter from Acting Assistant Secretary for
     Mental Health and Substance Use, Tom Coderre


     Standard Terms of Award:
     1) Acceptance of the Terms of an Award
     By drawing or otherwise obtaining funds from the HHS Payment Management System,
     the recipient acknowledges acceptance of the terms and conditions of the award and is
     obligated to perform in accordance with the requirements of the award. Except for any
     waiver granted explicitly elsewhere in this section, this award does not constitute
     approval for waiver of any Federal statutory/regulatory requirements for a MHBG.
     Once an award is accepted by a recipient, the contents of the Notice of Award (NoA)
     are binding on the recipient unless and until modified by a revised NoA signed by the
     GMO.
     Certification Statement: By drawing down funds, The recipient agrees to abide by
     the statutory requirements of all sections of the Mental Health Block Grant (MHBG)
     (Public Health Service Act, Sections 1911-1920 and sections 1941-1957) (42 U.S.C.
     300x-1-300x-9 and 300x-51-300x-67, as amended), and other administrative and legal
     requirements as applicable for the duration of the award.
     2) Official Form Designee
     The States Chief Executive Officer, or authorized designee is considered the official
     form designee for this grant. The SAMHSA GMS and the MHBG Program Officer
     must be notified immediately before any changes in this key position are made. Please
     note that individuals that are suspended or debarred are prohibited from serving on
     Federal grant awards.
     3) Availability of Funds
     Funds provided under this grant must be obligated and expended by September 30,
     2025.
     4) Fiscal and administrative requirements
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     This award is subject to the administrative requirements for HHS block grants under
     45 CFR Part 96, Subpart C, and 45 CFR Part 75, as specified. Except for section
     75.202 of Subpart C, and sections 75.351 through 75.353 of Subpart D, the
     requirements in Subpart C, Subpart D, and Subpart E do not apply to this program
     (reference 45 CFR Part 75 Subpart B, 75.101(d)).
     Fiscal control and accounting procedures - Fiscal control and accounting procedures
     must be sufficient to (a) permit preparation of reports required by the statute
     authorizing the block grant and (b) permit the tracing of funds to a level of expenditure
     adequate to establish that such funds have not been used in violation of the restrictions
     and prohibitions of the statute authorizing the block grant.
     ARPA funding is being issued under a separate grant award number and has a unique
     subaccount in the Payment Management System. Accordingly, ARPA funds must be
     tracked and reported separately from other FY 2021 awarded funds, including
     COVID-19 Supplemental funding and the Annual Block Grant Allotment.
     Audits - Grantees and subgrantees are responsible for obtaining audits in accordance
     with the Single Audit Act Amendments of 1996 (31 U.S.C. 7501-7507) and revised
     OMB Circular A-133, “Audits of State, Local Governments, and Non-Profit
     Organizations.” The audits shall be made by an independent auditor in accordance with
     generally accepted Government auditing standards covering financial audits.
     5) Flow-down of requirements to sub-recipients
     The grantee, as the awardee organization, is legally and financially responsible for all
     aspects of this award including funds provided to sub-recipients, in accordance with 45
     CFR 75.351-75.353, Sub-recipient monitoring and management.
     6) Early Serious Mental Illness Set-Aside
     The 21st Century Cures Act, P.L. 114-255 amended Section 1920(c) of the Public
     Health Service Act (42 U.S.C. 300x 9(c)). States must set-aside not less than 10
     percent of their total MHBG allocation amount for each fiscal year to support
     evidence-based programs that address the needs of individuals with early serious
     mental illness, including psychotic disorders, regardless of the age of the individual at
     onset. In lieu of expending 10 percent of the amount, the State receives for a fiscal
     year, states have the flexibility to expend not less than 20 percent of such amount by
     the end of the succeeding fiscal year.
     7) Executive Pay
     The Consolidated Appropriations Act, 2021 (Public Law 116-260), signed into law on
     December 27, 2020 restricts the amount of direct salary to Executive Level II of the
     Federal Executive Pay scale. Effective January 3, 2021, the salary limitation for
     Executive Level II is $199,300.
     For awards issued prior to this change, if adequate funds are available in active awards,
     and if the salary cap increase is consistent with the institutional base salary, recipients
     may re-budget to accommodate the current Executive Level II salary level. However,
     no additional funds will be provided to these grant awards.
     8) Marijuana Restriction:

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     Grant funds may not be used, directly or indirectly, to purchase, prescribe, or provide
     marijuana or treatment using marijuana. Treatment in this context includes the
     treatment of opioid use disorder. Grant funds also cannot be provided to any individual
     who or organization that provides or permits marijuana use for the purposes of treating
     substance use or mental disorders. See, e.g., 45 C.F.R. 75.300(a) (requiring HHS to
     ensure that Federal funding is expended . . . in full accordance with U.S. statutory . . .
     requirements.); 21 U.S.C. 812(c) (10) and 841 (prohibiting the possession,
     manufacture, sale, purchase or distribution of marijuana). This prohibition does not
     apply to those providing such treatment in the context of clinical research permitted by
     the DEA and under an FDA-approved investigational new drug application where the
     article being evaluated is marijuana or a constituent thereof that is otherwise a banned
     controlled substance under federal law.
     9) SAM and DUNS Requirements
     THIS AWARD IS SUBJECT TO REQUIREMENTS AS SET FORTH IN 2 CFR
     25.110 CENTRAL CONTRACTOR REGISTRATION CCR) (NOW SAM) AND
     DATA UNIVERSAL NUMBER SYSTEM (DUNS) NUMBERS. 2 CFR Part 25 -
     Appendix A4
     System of Award Management (SAM) and Universal Identifier Requirements
     A. Requirement for System of Award Management:
     Unless you are exempted from this requirement under 2 CFR 25.110, you, as the
     recipient, must maintain the currency of your information in the SAM, until you
     submit the final financial report required under this award or receive the final payment,
     whichever is later. This requires that you review and update the information at least
     annually after the initial registration, and more frequently if required by changes in
     your information or another award term.
     B. Requirement for unique entity identifier If you are authorized (reference project
     description) to make subawards under this award, you:
     1. Must notify potential subrecipients that no entity (see definition in paragraph C of
     this award term) may receive a subaward from you, unless the entity has provided its
     unique entity identifier to you.
     2. May not make a subaward to an entity, unless the entity has provided its unique
     entity identifier to you.
     C. Definitions. For purposes of this award term:
     1. System of Award Management (SAM) means the federal repository into which an
     entity must provide information required for the conduct of business as a recipient.
     Additional information about registration procedures may be found at the SAM
     Internet site (currently at: http://www.sam.gov).
     2. Unique entity identifier means the identifier required for SAM registration to
     uniquely identify business entities.
     3. Entity, as it is used in this award term, means all of the following, as defined at 2
     CFR Part 25, Subpart C:
     a. A governmental organization, which is a state, local government, or Indian Tribe; b.
     A foreign public entity; c. A domestic or foreign nonprofit organization; d. A domestic
     or foreign for-profit organization; and e. A Federal agency, but only as a sub-recipient
     under an award or sub-award to a nonfederal entity.
     4. Sub-award:

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     a. This term means a legal instrument to provide support for the performance of any
     portion of the substantive project or program for which you received this award and
     that you as the recipient award to an eligible sub-recipient. b. The term does not
     include your procurement of property and services needed to carry out the project or
     program (for further explanation, see 2 CFR 200.330). c. A sub-award may be
     provided through any legal agreement, including an agreement that you consider a
     contract.
     5. Sub-recipient means an entity that: a. Receives a sub-award from you under this
     award; and b. Is accountable to you for the use of the federal funds provided by the
     sub-award.
     10) Federal Financial Accountability and Transparency Act (FFATA)
     Reporting Subawards and Executive Compensation, 2 CFR, Appendix A to Part 170
     a. Reporting of first tier subawards.
     1. Applicability. Unless you are exempt as provided in paragraph d. of this award term,
     you must report each action that obligates $25,000 or more in Federal funds that does
     not include Recovery funds (as defined in section 1512(a)(2) of the American
     Recovery and Reinvestment Act of 2009, Pub. L. 111-5) for a subaward to an entity
     (see definitions in paragraph e. of this award term).
     2. Where and when to report.
     i. You must report each obligating action described in paragraph a.1. of this award
     term to http://www.fsrs.gov.
     ii. For subaward information, report no later than the end of the month following the
     month in which the obligation was made. (For example, if the obligation was made on
     November 7, 2010, the obligation must be reported by no later than December 31,
     2010.)
     3. What to report. You must report the information about each obligating action that
     the submission instructions posted at http://www.fsrs.gov specify.
     b. Reporting Total Compensation of Recipient Executives.
     1. Applicability and what to report. You must report total compensation for each of
     your five most highly compensated executives for the preceding completed fiscal year,
     if
     i. the total Federal funding authorized to date under this award is $25,000 or more;
     ii. in the preceding fiscal year, you received (A) 80 percent or more of your annual
     gross revenues from Federal procurement contracts (and subcontracts) and Federal
     financial assistance subject to the Transparency Act, as defined at 2 CFR 170. 320 (and
     subawards); and (B) $25,000,000 or more in annual gross revenues from Federal
     procurement contracts (and subcontracts) and Federal financial assistance subject to
     the Transparency Act, as defined at 2 CFR 170.320 (and subawards); and
     iii. The public does not have access to information about the compensation of the
     executives through periodic reports filed under section 13(a) or 15(d) of the Securities
     Exchange Act of 1934 (15 U.S.C. 78m(a), 78o(d)) or section 6104 of the Internal
     Revenue Code of 1986. (To determine if the public has access to the compensation
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     information, see the U.S. Security and Exchange Commission total compensation
     filings at http://www.sec.gov/answers/execomp.htm.)
     2. Where and when to report. You must report executive total compensation described
     in paragraph b. 1. of this award term:
     i. As part of your registration profile at https://www.sam.gov.
     ii. By the end of the month following the month in which this award is made, and
     annually thereafter.
     c. Reporting of Total Compensation of Subrecipient Executives.
     1. Applicability and what to report. Unless you are exempt as provided in paragraph d.
     of this award term, for each first tier subrecipient under this award, you shall report the
     names and total compensation of each of the subrecipient's five most highly
     compensated executives for the subrecipient's preceding completed fiscal year, if
     i. in the subrecipient's preceding fiscal year, the subrecipient received (A) 80 percent or
     more of its annual gross revenues from Federal procurement contracts (and
     subcontracts) and Federal financial assistance subject to the Transparency Act, as
     defined at 2 CFR 170.320 (and subawards); and (B) $25,000,000 or more in annual
     gross revenues from Federal procurement contracts (and subcontracts), and Federal
     financial assistance subject to the Transparency Act (and subawards); and
     ii. The public does not have access to information about the compensation of the
     executives through periodic reports filed under section 13(a) or 15(d) of the Securities
     Exchange Act of 1934 (15 U.S.C. 78m(a), 78o(d)) or section 6104 of the Internal
     Revenue Code of 1986. (To determine if the public has access to the compensation
     information, see the U.S. Security and Exchange Commission total compensation
     filings at http://www.sec.gov/answers/execomp.htm.)
     2. Where and when to report. You must report subrecipient executive total
     compensation described in paragraph c. 1. of this award term:
     i. To the recipient.
     ii. By the end of the month following the month during which you make the subaward.
     For example, if a subaward is obligated on any date during the month of October of a
     given year (i.e., between October 1 and 31), you must report any required
     compensation information of the subrecipient by November 30 of that year.
     d. Exemptions If, in the previous tax year, you had gross income, from all sources,
     under $300,000, you are exempt from the requirements to report:
     i. Subawards, and
     ii. The total compensation of the five most highly compensated executives of any
     subrecipient.
     e. Definitions. For purposes of this award term:
     1. Entity means all of the following, as defined in 2 CFR part 25:
     i. A Governmental organization, which is a State, local government, or Indian tribe;
     ii. A foreign public entity;
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     iii. A domestic or foreign nonprofit organization;
     iv. A domestic or foreign for-profit organization;
     v. A Federal agency, but only as a subrecipient under an award or subaward to a non-
     Federal entity.
     2. Executive means officers, managing partners, or any other employees in
     management positions.
     3. Subaward:
     i. This term means a legal instrument to provide support for the performance of any
     portion of the substantive project or program for which you received this award and
     that you as the recipient award to an eligible subrecipient.
     ii. The term does not include your procurement of property and services needed to
     carry out the project or program (for further explanation, see Sec. __. 210 of the
     attachment to OMB Circular A-133, Audits of States, Local Governments, and
     Nonprofit Organizations).
     iii. A subaward may be provided through any legal agreement, including an agreement
     that you or a subrecipient considers a contract.
     4. Subrecipient means an entity that: i. Receives a subaward from you (the recipient)
     under this award; and ii. Is accountable to you for the use of the Federal funds
     provided by the subaward.
     5. Total compensation means the cash and noncash dollar value earned by the
     executive during the recipient's or subrecipient's preceding fiscal year and includes the
     following (for more information see 17 CFR 229.402(c)(2)):
     i. Salary and bonus.
     ii. Awards of stock, stock options, and stock appreciation rights. Use the dollar amount
     recognized for financial statement reporting purposes with respect to the fiscal year in
     accordance with the Statement of Financial Accounting Standards No. 123 (Revised
     2004) (FAS 123R), Shared Based Payments.
     iii. Earnings for services under non-equity incentive plans. This does not include group
     life, health, hospitalization or medical reimbursement plans that do not discriminate in
     favor of executives and are available generally to all salaried employees.
     iv. Change in pension value. This is the change in present value of defined benefit and
     actuarial pension plans.
     v. Above-market earnings on deferred compensation which is not tax-qualified. vi.
     Other compensation, if the aggregate value of all such other compensation (e.g.
     severance, termination payments, value of life insurance paid on behalf of the
     employee, perquisites or property) for the executive exceeds $10,000. [75 FR 55669,
     Sept. 14, 2010, as amended at 79 FR 75879, Dec. 19, 2014]
     11) Mandatory Disclosures
     Consistent with 45 CFR 75.113, applicants and recipients must disclose in a timely
     manner, in writing to the HHS Office of Inspector General (OIG), all information

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     related to violations, or suspected violations, of Federal criminal law involving fraud,
     bribery, or gratuity violations potentially affecting the Federal award. Subrecipients
     must disclose, in a timely manner, in writing to the prime recipient (pass through
     entity) and the HHS OIG, all information related to violations, or suspected violations,
     of Federal criminal law involving fraud, bribery, or gratuity violations potentially
     affecting the Federal award. Disclosures must be sent in writing to the awarding
     agency and to the HHS OIG at the following addresses:
     U.S. Department of Health and Human Services Office of Inspector General
     ATTN: Mandatory Grant Disclosures, Intake Coordinator 330 Independence Avenue,
     SW, Cohen Building Room5527 Washington, DC 20201
     Fax: (202) 205-0604 (Include “Mandatory Grant Disclosures” in subject line) or email:
     MandatoryGranteeDisclosures@oig.hhs.gov
     Failure to make required disclosures can result in any of the remedies described in 45
     CFR 75.371 remedies for noncompliance, including suspension or debarment (see 2
     CFR parts 180 & 376 and 31 U.S.C. 3321).
     12) The Trafficking Victims Protection Act of 2000 (22 U.S.C. 7104(G)), as
     amended, and 2 C.F.R. PART 175
     The Trafficking Victims Protection Act of 2000 authorizes termination of financial
     assistance provided to a private entity, without penalty to the Federal government, if
     the recipient or subrecipient engages in certain activities related to trafficking in
     persons. SAMHSA may unilaterally terminate this award, without penalty, if a private
     entity recipient, or a private entity subrecipient, or their employees: a) Engage in
     severe forms of trafficking in persons during the period of time that the award is in
     effect; b) Procure a commercial sex act during the period of time that the award is in
     effect; or, c) Use forced labor in the performance of the award or subawards under the
     award. The text of the full award term is available at 2 C.F.R. 175.15(b). See
     http://www.gpo.gov/fdsys/pkg/CFR-2012-title2-vol1/pdf/CFR-2012-title2-vol1-
     sec175-15.pdf.
     13) Drug-Free Workplace Requirements
     The Drug-Free Workplace Act of 1988 (41 U.S.C. 701 et seq.) requires that all
     organizations receiving grants from any Federal agency agree to maintain a drug-free
     workplace. When the AR signed the application, the AR agreed that the recipient will
     provide a drug-free workplace and will comply with the requirement to notify
     SAMHSA if an employee is convicted of violating a criminal drug statute. Failure to
     comply with these requirements may be cause for debarment. Government wide
     requirements for Drug-Free Workplace for Financial Assistance are found in 2 CFR
     part 182; HHS implementing regulations are set forth in 2 CFR part 382.400. All
     recipients of SAMHSA grant funds must comply with the requirements in Subpart B
     (or Subpart C if the recipient is an individual) of Part 382.
     14) Lobbying
     No funds provided under the attached Notice of Award (NoA) may be used by you or
     any sub-recipient under the grant to support lobbying activities to influence proposed
     or pending federal or state legislation or appropriations. The prohibition relates to the
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     use of federal grant funds and is not intended to affect your right or that of any other
     organization, to petition Congress or any other level of government, through the use of
     other nonfederal resources. Reference 45 CFR Part 93.
     15) Accessibility Provisions
     Grant recipients of Federal financial assistance (FFA) from HHS must administer their
     programs in compliance with Federal civil rights law. This means that recipients of
     HHS funds must ensure equal access to their programs without regard to a person s
     race, color, national origin, disability, age, and in some circumstances, sex and
     religion. This includes ensuring your programs are accessible to persons with limited
     English proficiency. The HHS Office for Civil Rights also provides guidance on
     complying with civil rights laws enforced by HHS. Please see
     http://www.hhs.gov/ocr/civilrights/understanding/section1557/index.html. Recipients
     of FFA also have specific legal obligations for serving qualified individuals with
     disabilities. Please see
     http://www.hhs.gov/ocr/civilrights/understanding/disability/index.html. Please contact
     the HHS Office for Civil Rights for more information about obligations and
     prohibitions under Federal civil rights laws at https://www.hhs.gov/civil-
     rights/index.html or call 1-800-368-1019 or TDD 1-800-537-7697. Also note that it is
     an HHS Departmental goal to ensure access to quality, culturally competent care,
     including long-term services and supports, for vulnerable populations. For further
     guidance on providing culturally and linguistically appropriate services, recipients
     should review the National Standards for Culturally and Linguistically Appropriate
     Services in Health and Health Care at
     https://minorityhealth.hhs.gov/omh/browse.aspx?lvl=1&lvlid=6.
     16) Audits
     Non-Federal recipients that expend $750,000 or more in federal awards during the
     recipient's fiscal year must obtain an audit conducted for that year in accordance with
     the provisions of 45 CFR 96.31.
     Recipients are responsible for submitting their Single Audit Reports and the Data
     Collections Forms (SF-FAC) electronically to the to the Federal Audit Clearinghouse
     Visit disclaimer page (FAC) within the earlier of 30 days after receipt or nine months
     after the FY s end of the audit period. The FAC operates on behalf of the OMB.
     For specific questions and information concerning the submission process: Visit the
     Federal Audit Clearinghouse at https://harvester.census.gov/facweb or Call FAC at the
     toll-free number: (800) 253-0696


     Reporting Requirements:
     Federal Financial Report (FFR)
     The recipient is required to submit a Federal Financial Report (FFR) 90 days after the
     close of the performance period (project period). The SF-425 shall report total funds
     obligated and total funds expended by the grantee.
     Effective January 1, 2021, award recipients are required to submit the SF-425 Federal
     Financial Report (FFR) via the Payment Management System (PMS). If the individual
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     responsible for FFR submission does not already have an account with PMS,
     please contact PMS to obtain access.
     Recipients must liquidate all obligations incurred under an award not later than ninety
     (90) days after the end of the award obligation and expenditure period (i.e., the project
     period) which also coincides with the due date for submission of the FINAL SF-425,
     Federal Financial Report (FFR). After ninety (90) days, letter of credit accounts are
     locked. SAMHSA does not approve extensions to the ninety (90) day post-award
     reconciliation/liquidation period. Therefore, recipients are expected to complete all
     work and reporting within the approved project period and the aforementioned 90-day
     post-award reconciliation/liquidation period. Recipients (late) withdrawal requests
     occurring after the aforementioned periods are denied. In rare instances, SAMHSA
     may approve an extension to submit a FINAL SF-425 FFR report, but this is not an
     extension of the 90-day post award reconciliation/liquidation period, but rather only an
     extension to submit the Final SF-425 report (FFR).
     Annual Report
     Reporting on the ARPA funding is required. States must prepare and submit their
     respective reports utilizing WebBGAS. Failure to comply with these requirements
     may cause the initiation of enforcement actions that can culminate in discontinuation
     of MHBG grants.
     Your assigned MHBG Program Official will provide further guidance and additional
     submission information.




    In accordance with the regulatory requirements provided at 45 CFR 75.113 and Appendix
    XII to 45 CFR Part 75, recipients that have currently active Federal grants, cooperative
    agreements, and procurement contracts with cumulative total value greater than
    $10,000,000 must report and maintain information in the System for Award Management
    (SAM) about civil, criminal, and administrative proceedings in connection with the
    award or performance of a Federal award that reached final disposition within the most
    recent five-year period. The recipient must also make semiannual disclosures regarding
    such proceedings. Proceedings information will be made publicly available in the
    designated integrity and performance system (currently the Federal Awardee
    Performance and Integrity Information System (FAPIIS)). Full reporting requirements
    and procedures are found in Appendix XII to 45 CFR Part 75.

    Staff Contacts:

    Michelle Gleason, Program Official
    Phone: 240-276-1941 Email: Michelle.Gleason@samhsa.hhs.gov
                                                  Page 12 of 13
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                                           #: 1761




    Wendy Pang, Grants Specialist
    Phone: (240) 276-1419 Email: wendy.pang@samhsa.hhs.gov Fax: (240) 276-1430




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                                   #: 1762




                             Exhibit F
Case 1:25-cv-00121-MSM-LDA                  Document 4-14              Filed 04/01/25   Page 60 of 65 PageID
                                                  #: 1763

   From:            Herb, Amy (DHSS)
   To:              SingletaryTwyman, Michelle (DHSS)
   Subject:         Fw: B08TI083979: Termination Notice for COVID-19 Grant Funding
   Date:            Friday, March 28, 2025 8:11:07 PM
   Attachments:     image001.png
                    image002.png
                    image003.png
                    image004.png



  APRA SUPTRS




           AMY M. HERB
           Planner IV

           Delaware Department of Health and Social Services
           Division of Substance Abuse and Mental Health




           Herman M. Holloway Sr. Health and Social Services Campus
           1901 N. DuPont Highway, New Castle, DE 19720
           Office: (302) 255-9139
           amy.herb@delaware.gov

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  From: Nash-Mccarter, Nekesha (SAMHSA/CSAT) <Nekesha.Nash-mccarter@samhsa.hhs.gov>
  Sent: Tuesday, March 25, 2025 8:34 AM
  To: Teitelbaum, Alexis (DHSS) <alexis.teitelbaum@delaware.gov>
  Cc: Marti, Frances (DHSS) <Frances.Marti@delaware.gov>; SingletaryTwyman, Michelle (DHSS)
  <Michelle.Twyman@delaware.gov>; Waninger, Brent T (DHSS) <Brent.Waninger@delaware.gov>;
  Herb, Amy (DHSS) <Amy.Herb@delaware.gov>; Champney, Joanna (DHSS)
  <Joanna.Champney@delaware.gov>
  Subject: RE: B08TI083979: Termination Notice for COVID-19 Grant Funding

  Good morning All,

  I am copying in Amy and Joanna as my POCs for the COVID-19 Supplemental Funding.
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                                               #: 1764


  Nekesha McCarter, M.S
  Public Health Advisor
  Substance Abuse and Mental Health Services Administration (SAMHSA)
  Center for Substance Abuse Treatment (CSAT)
  Division of State and Community Systems (DSCS) | State Systems Partnership Branch (SSPB)
  Phone: (202) 961-7527


  From: Teitelbaum, Alexis (DHSS) <alexis.teitelbaum@delaware.gov>
  Sent: Tuesday, March 25, 2025 7:49 AM
  To: Pang, Wendy (SAMHSA/OFR) <Wendy.Pang@samhsa.hhs.gov>
  Cc: Nash-Mccarter, Nekesha (SAMHSA/CSAT) <Nekesha.Nash-mccarter@samhsa.hhs.gov>;
  eracorrespondence@od.nih.gov; Marti, Frances (DHSS) <Frances.Marti@delaware.gov>;
  SingletaryTwyman, Michelle (DHSS) <Michelle.Twyman@delaware.gov>; Waninger, Brent T (DHSS)
  <Brent.Waninger@delaware.gov>
  Subject: RE: B08TI083979: Termination Notice for COVID-19 Grant Funding


  Wendy,
  Thank you for sending. I am no longer with DSAMH, so I am CC’ing the
  people engaged with DSAMH in leadership roles that will need this
  information and can let you know who the POC should be for
  notices/updates like these. Thank you so much for your time and I am
  sure DSAMH representatives will be in touch soon. Thanks, and have a
  great week. Alexis

  Alexis Teitelbaum, MSW
  Fiscal Administrator I
  Delaware Department of Health and Social Services
  Office of the Secretary – Administration – Financial Management

  Herman M. Holloway Sr. Health and Social Services Campus
  1901 N. Dupont Highway
  Main Administration Building
  New Castle, DE 19720
  Office: 302-255-9379
  alexis.teitelbaum@delaware.gov




  Help is here
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                                              #: 1765

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  From: wendy.pang@samhsa.hhs.gov <wendy.pang@samhsa.hhs.gov>
  Sent: Monday, March 24, 2025 5:39 PM
  To: Teitelbaum, Alexis (DHSS) <alexis.teitelbaum@delaware.gov>; Teitelbaum, Alexis (DHSS)
  <alexis.teitelbaum@delaware.gov>
  Cc: Nekesha.Nash-McCarter@samhsa.hhs.gov; wendy.pang@samhsa.hhs.gov;
  eracorrespondence@od.nih.gov
  Subject: B08TI083979: Termination Notice for COVID-19 Grant Funding

  Dear Single State Authority Director and State Mental Health Commissioner,
  During the COVID-19 pandemic, the Substance Abuse Mental Health Services Administration
  (SAMHSA) awarded several pandemic-related grants including the funded Coronavirus
  Preparedness and Response Supplemental Appropriations Act, 2020 (H.R.6074) (CRRSA)
  which provided funds to respond to the coronavirus outbreak and the American Rescue Plan
  (ARP) Act of 2021(H.R. 1319) which provided additional relief to address the continued
  impact of COVID-19 (i.e., coronavirus disease 2019) on the economy, public health, state and
  local governments, individuals, and businesses.
  On April 10, 2023, President Biden signed PL 188-3 terminating the national emergency
  concerning the COVID-19 pandemic. Consistent with the President’s Executive Order 14222,
  Implementing the President’s “Department of Government Efficiency” Cost Efficiency
  Initiative requiring a comprehensive review of SAMHSA grants, and where appropriate and
  consistent with applicable law, terminate such grants to reduce the overall Federal spending
  this grant is being terminated effective March 24, 2025. These grants were issued for a
  limited purpose: To ameliorate the effects of the pandemic. The end of the pandemic provides
  cause to terminate COVID-related grants. Now that the pandemic is over, the grants are no
  longer necessary.
  In accordance with 45 CFR 96.30 (4), block grant award recipients are required to provide a
  Financial Status Report (FFR) within 90 days of the close of the applicable statutory grant
  period. Recipients must liquidate all obligations incurred under an award after the end of the
  award obligation and expenditure period (i.e., the project period) which also coincides with the
  due date for submission of the FINAL SF-425, Federal Financial Report
  (FFR). Reimbursements after termination are allowable if it results from obligations which
  were properly incurred before the effective date of this termination.
  Recipients are expected to complete all work immediately and the reconciliation/liquidation
  process no later than 90-days after the award period end date.
   The related Payment Management System accounts will be restricted from drawdown going
  further. Additional information will be provided in the revised Notice of Award that will be
  issued to initiate the award period end date.
  [[Correspondence Token: 415ba208-fd68-4a37-a621-1fb7fab806b3]] -- Do not delete or
  change this line. --
  Please "Reply All" and do NOT delete eracorrespondence@nih.gov from the list of recipients
  or change the subject line.
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                                   #: 1766




                             Exhibit G
Case 1:25-cv-00121-MSM-LDA                    Document 4-14               Filed 04/01/25   Page 64 of 65 PageID
                                                    #: 1767

   From:               Herb, Amy (DHSS)
   To:                 SingletaryTwyman, Michelle (DHSS)
   Subject:            Fw: B09SM085340: Termination Notice for COVID-19 Grant Funding
   Date:               Friday, March 28, 2025 8:11:40 PM




  CMHBG - ARPA



              AMY M. HERB
              Planner IV

              Delaware Department of Health and Social Services
              Division of Substance Abuse and Mental Health




              Herman M. Holloway Sr. Health and Social Services Campus
              1901 N. DuPont Highway, New Castle, DE 19720
              Office: (302) 255-9139
              amy.herb@delaware.gov

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  From: Mckinney, Christopher (SAMHSA/CMHS) <Christopher.Mckinney@samhsa.hhs.gov>
  Sent: Tuesday, March 25, 2025 2:12 PM
  To: Herb, Amy (DHSS) <Amy.Herb@delaware.gov>; Crumbacker, Jessica (DHSS)
  <jessica.crumbacker@delaware.gov>
  Subject: FW: B09SM085340: Termination Notice for COVID-19 Grant Funding

  FYI, I will have further information soon.



  CJ McKinney, PhD, PStat®
  Public Health Advisor/Government Project Officer
  SAMHSA-CMHS-DSCSD-SCPGB
  U.S. Department of Health and Human Services
  5600 Fishers Lane
  Rockville, MD 20857
  240-276-2095
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                                          #: 1768



  From: katrina.morgan@samhsa.hhs.gov <katrina.morgan@samhsa.hhs.gov>
  Sent: Monday, March 24, 2025 3:50 PM
  To: Alexis.teitelbaum@delaware.gov; Michelle.Twyman@delaware.gov
  Cc: Mckinney, Christopher (SAMHSA/CMHS) <Christopher.Mckinney@samhsa.hhs.gov>; Pang,
  Wendy (SAMHSA/OFR) <Wendy.Pang@samhsa.hhs.gov>; eracorrespondence@od.nih.gov
  Subject: B09SM085340: Termination Notice for COVID-19 Grant Funding

  Dear Single State Authority Director and State Mental Health Commissioner,

  During the COVID-19 pandemic, the Substance Abuse and Mental Health Services
  Administration (SAMHSA) awarded several pandemic-related grants including the
  funded Coronavirus Preparedness and Response Supplemental Appropriations Act, 2020
  (H.R.6074) (CRRSA) which provided funds to respond to the coronavirus outbreak and
  the American Rescue Plan (ARP) Act of 2021(H.R. 1319) which provided additional relief to
  address the continued impact of COVID-19 (i.e., coronavirus disease 2019) on the economy,
  public health, state and local governments, individuals, and businesses.

  On April 10, 2023, President Biden signed PL 188-3 terminating the national emergency
  concerning the COVID-19 pandemic. Consistent with the President’s Executive Order 14222,
  Implementing the President’s “Department of Government Efficiency” Cost Efficiency
  Initiative requiring a comprehensive review of SAMHSA grants, and where appropriate and
  consistent with applicable law, terminate such grants to reduce the overall Federal spending
  this grant is being terminated effective March 24, 2025. These grants were issued for a
  limited purpose: To ameliorate the effects of the pandemic. The end of the pandemic provides
  cause to terminate COVID-related grants. Now that the pandemic is over, the grants are no
  longer necessary.

  In accordance with 45 CFR 96.30 (4), block grant award recipients are required to provide a
  Financial Status Report (FFR) within 90 days of the close of the applicable statutory grant
  period. Recipients must liquidate all obligations incurred under an award after the end of the
  award obligation and expenditure period (i.e., the project period) which also coincides with the
  due date for submission of the FINAL SF-425, Federal Financial Report
  (FFR). Reimbursements after termination are allowable if it results from obligations which
  were properly incurred before the effective date of this termination.

  Recipients are expected to complete all work immediately and the reconciliation/liquidation
  process no later than 90-days after the award period end date.

  The related Payment Management System accounts will be restricted from drawdown going
  further. Additional information will be provided in the revised Notice of Award that will be
  issued to initiate the award period end date.
  [[Correspondence Token: 16d72aec-c35f-4ab9-951e-cc968cf05a06]] -- Do not delete or
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